                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                        AT KNOXVILLE

 BRIAN KEITH REDSTAR WALKER,                            )
                                                        )
                  Petitioner,                           )
                                                        )
 v.                                                     )       Nos.    3:10-cr-56-PLR-HBG-3
                                                        )               3:13-cv-597-PLR
 UNITED STATES OF AMERICA,                              )
                                                        )
                  Respondent.                           )

                                     MEMORANDUM OPINION

           Before the Court is Petitioner’s pro se motion to vacate, set aside, or correct his sentence

 pursuant to 28 U.S.C. § 2255 (“§ 2255 Motion”) [Doc. 278]. 1 The United States responded in

 opposition to the petition [Doc. 281]; Petitioner replied in turn [Doc. 288]. During the pendency

 of the action, Petitioner also filed a motion for leave to supplement his § 2255 motion [Doc.

 290]; a motion for summary judgment [Doc. 298]; and a motion to reduce sentence pursuant to

 18 U.S.C. 3582(c) [Doc. 299].

           For the following reasons, Petitioner’s motion for leave to supplement [Doc. 290] and his

 motion for summary judgment [Doc. 298] will be DENIED as moot. Petitioner’s § 2255 motion

 [Doc. 278] will be will be DENIED and DISMISSED WITH PREJUDICE. The Court, by

 separate memorandum opinion and order, will address the merits of Petitioner’s motions for

 reduction in sentence [Doc. 299].

      I.   BACKGROUND

           The facts surrounding Petitioner’s convictions were recited in Petitioner’s plea agreement

 and Presentence Report (“PSR”) as follows:



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           All citations to the record are found on the docket of Case No. 3:10-cr-56-3.


Case 3:10-cr-00056-KAC-JEM             Document 333 Filed 11/17/16             Page 1 of 5      PageID
                                             #: 1246
                [Petitioner] was a crack cocaine distributor in Roane County, Tennessee,
        and had been a regular purchaser of crack cocaine from co-defendant [Katrina]
        Clemons during the conspiracy period. Law enforcement interviewed [Petitioner]
        on that basis at which time he made a Mirandized statement and admitted to
        purchasing around a kilogram of crack cocaine from Clemons over the course of
        the conspiracy. Independent investigation puts that amount in excess of 1.5
        kilograms. The parties agree that [Petitioner] bought and distributed between 840
        grams and 2.8 kilograms of crack cocaine during the course of the conspiracy, and
        that this range is the amount of drugs for which he will be held responsible at
        sentencing.

        On November 2, 2010, in a superseding indictment, a federal grand jury in the Eastern

 District of Tennessee charged Petitioner with conspiring to distribute and possess with intent to

 distribute at least fifty grams of cocaine base (“crack”), in violation of 21 U.S.C. §§ 841(a)(1),

 (b)(1)(A), and 846 (Count One) [Doc. 17-3]. Petitioner pleaded guilty to that charge pursuant to

 a plea agreement with the United States [Doc. 185]. As part of the plea agreement, Petitioner

 admitted to “[conspiring] to distribute and [possessing] with the intent to distribute 50 grams of a

 mixture or substance containing a detectable amount of cocaine base (‘crack’)” [Id. ¶ 1(a)].

 Additionally, Petitioner agreed that he was pleading guilty because he was “in fact guilty” [Id.].

 Petitioner also “voluntarily waive[d] [his] right to file any motions or pleadings pursuant to 28

 U.S.C. § 2255 or to collaterally attack [his] conviction(s) and/or resulting sentence” except in

 cases “of ineffective assistance of counsel or prosecutorial misconduct not known to [Petitioner]

 by the time of the entry of judgment” [Id. ¶ 13 (b)].

        The Court, on September 19, 2011, sentenced Petitioner to 168 months’ imprisonment, a

 term at the bottom of his Guidelines range [Doc. 214]. On appeal, the Sixth Circuit affirmed

 Petitioner’s conviction and sentence [Doc. 222].

        On October 7, 2013, Petitioner filed the present motion pursuant to 28 U.S.C. § 2255

 [Doc. 278].



                                                  2

Case 3:10-cr-00056-KAC-JEM           Document 333 Filed 11/17/16             Page 2 of 5      PageID
                                           #: 1247
  II.   TIMELINESS OF PETITION

        Under the Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”), the one-

 year statute of limitations applicable to collateral challenges under § 2255 runs from the latest of:

 (1) “the date on which the judgment of conviction becomes final;” (2) “the date on which the

 impediment to making a motion created by Governmental action in violation of the Constitution

 or laws of the United States is removed, if the movant was prevented from making a motion by

 such Governmental action;” (3) “the date on which the right asserted was initially recognized by

 the Supreme Court, if that right has been newly recognized by the Supreme court and made

 retroactively applicable to cases on collateral review;” or (4) the date on which the facts

 supporting the claim or claims presented could have been discovered through the exercise of due

 diligence.” 28 U.S.C. § 2255(f). In the case of a direct appeal, a petitioner’s conviction becomes

 final upon either denial of certiorari or expiration of the ninety-day period in which to seek such

 review. Clay v. United States, 537 U.S. 522, 525, 532 (2003).

        Petitioner has failed to establish or even assert that subsections (f)(2) or (f)(4) apply to his

 case. Specifically, he has not established that any illegal action by the Government prevented

 him from making the timely petition, or the existence of facts affecting his case that could not

 have previously been discovered through the exercise of due diligence. The timeliness of

 Petitioner’s original motion thus hinges on its compliance with § 2255(f)(1) or (f)(3).

        Under subsection (f)(1), Petitioner’s one-year period for requesting relief expired on

 September 19, 2013, one year after his conviction became final for purposes of that section on

 September 19, 2012 [Doc. 268]. The original petition—filed on October 7, 2013—falls outside

 the permissible period for requesting collateral relief and is thus untimely under § 2255(f)(1).




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Case 3:10-cr-00056-KAC-JEM            Document 333 Filed 11/17/16              Page 3 of 5      PageID
                                            #: 1248
         Petitioner argues, however, that his petition is timely under § 2255(f)(3) because the

 statute of limitations period began to run from the date of the Supreme Court decision in Dorsey

 v. United States, 132 S. Ct. 2321 (2012) or, in the alternative, from the date of the Supreme Court

 decision in Alleyne v. United States, 133 S. Ct. 2151 (2013). The Court disagrees. If the

 applicable one-year statute of limitations period started to run on the date of the Dorsey decision,

 Petitioner’s § 2255 motion would still be untimely. The Supreme Court decided Dorsey on June

 21, 2012. Thus, the window in which to file a timely § 2255 motion would expire one year after

 that date, on June 21, 2013. Because Petitioner filed his § 2255 motion on October 7, 2013,

 more than three months after the one-year statute of limitations period to file under Dorsey

 expired, Petitioner’s motion under a renewed statute of limitations triggered by Dorsey would

 still be untimely.

         Petitioner’s attempt to rely on Alleyne to trigger subsection (f)(3)’s independent one-year

 filing period for relief also fails. Sixth Circuit precedent dictates that the Alleyne decision does

 not apply retroactively to cases on collateral review. In Re Mazzio, 756 F.3d 487, 488 (6th Cir.

 2014) (“[A]ny new rule announced in Alleyne has not been made retroactive to cases on

 collateral review by the Supreme Court.”); Myrick v. United States, No. 4:11-CR-13, 2015 WL

 5514681, at *2 (E.D. Tenn. Sept. 16, 2015) (same). As such, Alleyne does not trigger a renewed

 statute of limitations that would result in Petitioner’s motion being timely.

         Section 2255(f)’s statute of limitations is not jurisdictional and may be tolled under

 limited, extraordinary circumstances. Dunlap v. United States, 250 F.3d 101, 1007 (6lth Cir.

 2001). Used sparingly, a petitioner bears the burden of establishing that equitable tolling applies

 to his case, see Jurado v. Burt, 337 F.3d 638, 642 (6th Cir. 2003); Allen v. Yukins, 366 F.3d 396,

 401 (6th Cir. 2004), and must show “(1) that he has been pursuing his rights diligently, and (2)



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Case 3:10-cr-00056-KAC-JEM           Document 333 Filed 11/17/16                 Page 4 of 5   PageID
                                           #: 1249
 that some extraordinary circumstance stood in his way and prevented timely filing,” Holland v.

 Florida, 130 S. Ct. 2549, 2562 (2010); Hail v. Warden, 662 F.3d 745, 750 (6th Cir. 2011); see

 also Jurado, 337 F.3d at 643 (“Absent compelling equitable considerations, a court should not

 extend limitations by even a single day”). Review of the original petition [Doc. 278] leads the

 Court to conclude that Petitioner has failed to identify a single extraordinary circumstance

 capable of explaining his failure to comply with the window for requesting timely collateral

 relief under § 2255(f). Accordingly, his § 2255 motion is TIME-BARRED.

 III.   REMAINDER OF PETITIONER’S PENDING MOTIONS

        In addition to the § 2255 motion addressed above, Petitioner also filed a motion for leave

 to supplement his § 2255 motion [Doc. 290]; and a motion for summary judgment [Doc. 298].

 In light of the Court’s resolution of the § 2255 petition, Petitioner’s remaining motions [Docs.

 290, 298] will be DENIED as moot.

 IV.    CONCLUSION

        For the reasons discussed above, Petitioner’s motion for leave to supplement [Doc. 290]

 and his motion for summary judgment [Doc. 298] will be DENIED as moot. Petitioner’s § 2255

 motion [Doc. 278] will be will be DENIED and DISMISSED WITH PREJUDICE. The

 Court, by separate memorandum opinion and order, will address the merits of Petitioner’s

 motions for reduction in sentence [Doc. 299].

        IT IS SO ORDERED.



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                                             UNITED STATES
                                                      STAATESS DISTRICT
                                                               DIS   CT JUDGE
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Case 3:10-cr-00056-KAC-JEM          Document 333 Filed 11/17/16            Page 5 of 5     PageID
                                          #: 1250
